»., -- 7 Case 1:18-mj-00198-DI\/|L Document 9 Filed 03/16/18 Page 1 of 1 Page|D #: 24
AO 442 (Rev. ll/l 1) Arrest Warrant

 

UNITED STATES DISTRICT CoURT

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Southem District of Indiana - _ n v ED

United States of America
v. )
) Case No. l:lS-mj-OOl98
)
g F\\_F_D
zACHARY BALLINGER ) MAR 1 6 2018
Def”d“"’ u s cLERK's oFFlcE
'l`o: Any authorized law enforcement officer

YOU ARE COMMANDED to arrest and bring before a United States magistrate judge without unnecessary delay

(name of person to be arrestea) Zachary Balling€l' 3
who is accused of an offense or violation based on the following document filed with the court2

 

[:l lndictment l:\ Superseding lndictment E Information l:| Superseding Information Complaint
m Probation Violation Petition |:l Supervised Release Violation Petition l:\ Violation Notice l:| Order of the Court

This offense is briefly described as follows:
On or between January, 2018 and February 28, 2018, in Johnson County, in the Southern District of Indiana, and
elsewhere Zachary Ballinger committed the following criminal offenses:

Count l: Sexual EXploitation of a Minor, in violation of 18 U.S.C. § 2251(a);

Count 22 Distribution of a Visual Depiction of a Minor Engaging in Sexually EXplicit Conduct, in violation
of 18 U. S. C. § 2252(a)(2);

Count 3: Possession of a Visual Depiction of a Minor Engaging 1n Sexually EXplicit Conduct, in Violation
of 18 U. S. C. § 2252(a)(4)(B) and (b)(2).

Date; Mar¢h 2, 2018 W’L€/Z/L,

` Issuing o/fcer s signature

City and state: lndianapolis, IN Debra McVicker Lynch, U.S. Magistrate Judge

Printed name and title

 

 

 

Retum

 

 

This warrant was received on (date) §§ 2 \ \ 2 , and the person was arrested on (da¢e) ,?> \\ § § z

at (city and state)

 

 

 

 

 

n
Printed n‘nd title

 

 

 

